Case 2:05-cv-02444-.]DB-dkv Document 3 Filed 08/16/05 Page 1 of 8 Page|D 4

FILED my ‘@/G D(`
IN THE UNITED STATES DISTRICT COURT ‘ *-- --'-

FOR THE wEsTERN DISTRICT OF TENNESSEE
EASTERN DIVISION qSAUG l5 AHH= 27

 

 

THANGHKAO SYSENGLATH,
Petitioner,

VS. NO. 05-2444-'}3/\/

T.C. OUTLAW,

Respondent.

><>-<>-<><>-<>-<>-<>-<>-<><>'<>'<

 

ORDER DENYING PETITION PURSUANT TO 28 U.S.C. § 2241!_
ORDER CERTIFYING APPEAL NO'I‘ 'I'AKEN IN GOOD FAITH
AND
NO'I`ICE OF APPELLATE FILING FEE

 

Petitioner Thangkhao Sysenglath, Bureau of Prisons inmate
registration number 06550-030, an inmate at the Federal
Correctional Institution in Memphis, filed a prg_ §§_ petition
pursuant to 28 U.S.C. § 2241 on June 20, 2005. The Court issued an
order on June 27, 2005 directing the petitioner, within thirty (30)
days, to file an in forma pauperis affidavit or pay the habeas
filing fee. Petitioner paid the habeas filing fee on July ll, 2005.

The prisoner complains that he is experiencing a skin
rash over his entire body' that has been unresponsive to the
treatment provided to date, which is not described in the petition.

He seeks an appointment with a dermatologist.

 

__..JJ= ‘. ..w¢i.-.-f'-=»`v-
ThlS _J;_)uu.rl\:ll¥ drl~'$""l`“` `:;:r"d ..`M“'N.$u‘/ (Y "O§/
wm F\uie 58 anchor 7913) f-HmJ on _ .-H…-_ *' 3

Case 2:05-cv-02444-.]DB-dkv Document 3 Filed 08/16/05 Page 2 of 8 Page|D 5

It is necessary, as a threshold matter, to consider
whether this claim can be brought in a petition pursuant to 28
U.S.C. § 2241 or whether it can only be raised in a civil action
pursuant to Bivens v. Six Unknown Fed. Narcotics Agents, 403 U.S.
388 (1971). “It is clear, not only' from the language of §§
2241(c)(3) and 2254(a), but also from the common-law history of the
writ, that the essence of habeas corpus is an attack by a person in
custody upon the legality of that custody, and that the traditional
function of the writ is to secure release from illegal custody."
Preiser v. Rodriguez, 411 U.S. 475, 484 {1973). As the Supreme
Court explained:

The original view of a habeas corpus attack upon
detention under a judicial order Was a limited one. The
relevant inquiry was confined to determining simply
whether or not the committing court had been possessed of
jurisdiction. . . . But, over the years, the writ of
habeas corpus evolved as a remedy available to effect
discharge from any confinement contrary to the
Constitution. or fundamental law, even. though_ imposed
pursuant to conviction by a court of competent
jurisdiction. . . . Thus, whether the petitioner's
challenge to his custody is that the statute under which
he stands convicted is unconstitutional . . . ; that he
has been imprisoned. prior to trial on account of a
defective indictment against him . . . ; that he is
unlawfully confined in the wrong institution . ; that
he was denied his constitutional rights at trial . ;
that his guilty plea was invalid . . . ; that he is being
unlawfully detained by the Executive or the military

; or that his parole was unlawfully revoked, causing
him to be reincarcerated in prison . . . _in each case
his grievance is that he is being unlawfully subjected to
physical restraint, and in each case habeas corpus has
been accepted as the specific instrument to obtain
release from such confinement.

Case 2:05-cv-02444-.]DB-dkv Document 3 Filed 08/16/05 Page 3 of 8 Page|D 6

Id. at 485~86 (citations omitted); see also id. at 487 (“[R]ecent
cases have established that habeas corpus relief is not limited to
immediate release from illegal custody} but that the writ is

available as well to attack future confinement and obtain future

releases.”).

Although there is some blurring of the lines between a
habeas petition and an action pursuant to 42 U.S.C. § 1983 or
Bivens, this case does not approach that line. As the Seventh

Circuit explained:

For most purposes, the line between the domain of
collateral review and that of § 1983 is simple. State
prisoners who want to challenge their convictions, their
sentences, or administrative orders revoking good-time
credits or equivalent sentence-shortening devices, must
seek habeas corpus, because they contest the fact or
duration of custody. . . . State prisoners who want to
raise a constitutional challenge to any other decision,
such as a transfer to a new prison, administrative
segregation, exclusion from prison. programs, or
suspension of privileges, must instead employ § 1983 or
another statute authorizing damages or injunctions~when

the decision may be challenged at all . . . . Legal
rules, like physical surfaces, cause diffraction at the
edges . . . , but the exceptions (like the scattering of

light) may be ignored for most practical purposes.
Prisoners who follow the rule stated in this paragraph
rarely will go wrong; those who ignore it rarely will go
right.
Moran v. Sondalle, 218 F.3d 647, 650-51 (7th Cir. 2000) (per
curiam) (citations omitted); see also Carson v. Johnson, 112 F.3d
818, 820 (5th Cir. 1997) (“Generally, § 1983 suits are the proper

vehicle to attack unconstitutional conditions of confinement and

prison procedures. . . . A habeas petition, on the other hand, is

Case 2:05-cv-02444-.]DB-dkv Document 3 Filed 08/16/05 Page 4 of 8 Page|D 7

the proper vehicle to seek release from custody.”) (citations
omitted). In this case, the petition does not challenge either the
fact or the duration of the prisoner’s confinement. It is, instead,
limited to a challenge to the medical care that has been afforded
this prisoner for his skin condition. This is a matter that falls
squarely under the purview of Bivens. Villanueva-Monrov v. Hobart,
No. 05-C-214-C, 2005 WL 941144, at *l (W.D. Wis. Apr. lS, 2005)
(“Even if the petitioner were to prove that his medical need is
serious and that respondent has been deliberately indifferent to
it, he would not be entitled to release or modification of his
sentence. The injury he alleges is a claim that must be raised in

a civil action brought pursuant to Bivens v. Six Unknown Federal

Narcotics Agents.”).l

 

1 The Seventh Circuit recognized that state prisoners may have
strategic reasons for preferring habeas to § 1983 or Bivens:

The Prison Litigation Reform Act, which applies to prisoners' civil
suits, imposes requirements different from those of the
Antiterrorism and Effective Death Penalty Act, which governs
collateral attacks on confinement, making it important to classify
cases correctly. . . . Prisoners may be tempted to choose one route
rather than another to avoid limitations Congress adopted. For
example, the filing fee for an action seeking a writ of habeas
corpus is $5, while the fee to commence a case under § 1983 is $150
. . , and the fee in a § 1983 case eventually will be collected
from the prisoner's trust account under 28 U.S.C. § 1915(b) even if
the prisoner cannot pay in advance. Frivolous actions count as
“strikes” under § 1915(9), and a prisoner who has accumulated three
strikes must as a rule prepay the fees in all future civil actions,
while collateral attacks are not subject to limitation because of
prior frivolous suits.

Moran, 218 F.3d at 649 (citations omitted). In this case, there is no indication

that the prisoner has exhausted his administrative remedies pursuant to 42 U.S.C.
§ 1997e(a), which is required in order to assert a Bivens claim.

4

Case 2:05-cv-02444-.]DB-dkv Document 3 Filed 08/16/05 Page 5 of 8 Page|D 8

Because of the vastly different procedural requirements
for habeas petitions and § 1983 or §iy§ns actions, a court
confronted with a habeas petition that is properly brought under §
1983 or Bivens should dismiss the petitionr rather than
“converting” the petition to a § 1983 or Bivens action. Richmond v.
Scibana, 387 F.Bd 602, 606 (7th Cir. 2004);1\/10_ra_g, 218 F.3d at 651.
As Sysenglath is not entitled to invoke § 2241, “it appears from
the application that the applicant or person detained is not
entitled” to any relief. 28 U.S.C. § 2243. An order for the
respondent to show cause need not issue. The petition is DISMISSED
without prejudice to his right to assert this claim in a Bivens
action,

Appeals of habeas petitions under 28 U.S.C. § 2254 and
motions under 28 U.S.C. § 2255 are governed by 28 U.S.C. § 2253 and
require the district court to consider whether to issue a
certificate of appealability. Stanford.v. Parker, 266 F.3d 342 (6th
Cir. 2001); Lvons v. Ohio Adult Parole Auth., 105 F.3d 1063 (6th
Cir. 1997). Section 2253 does not apply to habeas petitions by
federal prisoners under § 2241, Mclntosh v. United States Parole
Comm’n, 115 F.3d 809, 810 (lOth Cir. 1997); Ojo v. Immigration &
Naturalization, Serv., 106 F.3d 680, 681-82 (5th Cir. 1997);
Bradshaw v. Storv, 86 F.3d 164, 166 (lOth Cir. 1996), and it also

is inapplicable to this case, which was not properly brought as a

Case 2:05-cv-02444-.]DB-dkv Document 3 Filed 08/16/05 Page 6 of 8 Page|D 9

habeas petition, Mg;an, 218 F.3d at 650; Walker v. O’Brien, 216
F.3d 626, 637-39 (7th Cir. 2000).

Nevertheless, a habeas petitioner seeking to appeal is
still obligated to pay the $255 filing fee required by 28 U.S.C. §§
1913 and 1917. Although the Sixth Circuit has concluded that the
provisions of the Prison Litigation Reform.Act of 1995 (“PLRA”), 28
U.S.C. § 1915, do not apply to § 2254 petitions, it has not
resolved whether these requirements apply to § 2241 petitions.
Kincade v. Sparkman, 117 F.3d 949, 951~52 (6th Cir. 1997); gf;
McGore v. Wrigglesworth, 114 F.3d 601 (6th Cir. 1997) (instructing
courts regarding proper PLRA procedures in prisoner civil-rights
cases, without mentioning § 2241 petitions). However, where, as
here, a prisoner attempts to cloak an alleged civil rights
violation as a habeas petition, “the district court must assess the
applicable appellate filing fee . .. under the McGore procedures.”
Kincade, 117 F.3d at 952.

Twenty-eight U.S.C. § 1915(a)(3) provides that an appeal
may not be taken in fgrm§ pauperis if the trial court certifies in
writing that it is not taken in good faith. Because these claims
plainly' are not cognizable in a § 2254 petition, the Court
determines that any appeal would not be taken in good faith. It is
therefore CERTIFIED, pursuant to 28 U.S.C. § 1915(a)(3), that any
appeal in this matter by the petitioner is not taken in good faith

and petitioner may not proceed on appeal in forma pauperis.

Case 2:05-cv-02444-.]DB-dkv Document 3 Filed 08/16/05 Page 7 of 8 Page|D 10

The final matter to be addressed is the assessment of a
filing fee if petitioner appeals the dismissal of this case.2 In
McGore v. Wrigglesworth, 114 F.3d 601, 610-11 (6th Cir. 1997), the
Sixth Circuit set out specific procedures for implementing the
PLRA. Therefore, the petitioner is instructed that if he wishes to
take advantage of the installment procedures for paying the
appellate filing fee, he must comply with the procedures set out in
McGore and § 1915(b).

iT Is so oRDERED this /L, day of August, 2005.

/

. ANTEL BREEN \
UNI an sTATEs DISTRIcT JUDGE

 

2 Effective November 1, 2003, the fee for docketing an appeal is $250.
See Judicial Conference Schedule of Fees, q 1, Note following 28 U.S.C. § 1913.
Under 28 U.S.C. § 1917, a district court also charges a $5 fee:

Upon the filing of any‘ separate or joint notice of appeal or
application for appeal or upon the receipt of any order allowing, or
notice of the allowance of, an appeal or of a writ of certiorari $5
shall be paid to the clerk of the district court, by the appellant
or petitioner.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 2:05-CV-02444 Was distributed by faX, mail, or direct printing on
August 18, 2005 to the parties listed.

 

 

Thangkhao Sysenglath

Federal Corrctional lnstitutional
06550-030

BoX 34550

i\/lemphis7 TN 38184

Honorable J. Breen
US DISTRICT COURT

